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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA    :
                            :
     v.                     :                      Criminal No. 21-cr-26
                            :
CHRISTOPHER MICHAEL ALBERTS
                            :
                            :
              Defendants.   :



       MOTION FOR AN ORDER TO DISCLOSE ITEMS PROTECTED BY
   FEDERAL RULE OF CRIMINAL PROCEDURE 6(e) AND SEALED MATERIALS

       The United States of America respectfully moves for entry by this Court of an order

permitting the disclosure in discovery of materials protected by Federal Rule of Criminal

Procedure 6(e). The United States also requests permission to provide in discovery sealed

materials, pursuant to the previously entered protective order governing discovery. Finally, the

United States requests that any order granting this motion be made applicable to co-defendants

who may later be joined.

       The United States conferred with counsel for the defendant regarding this motion

and the defense does not oppose this motion.




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       WHEREFORE, the United States respectfully requests an order authorizing the disclosure

in discovery of the materials described above.



                                             Respectfully submitted,

                                             CHANNING PHILLIPS
                                             Acting United States Attorney
                                             D.C. Bar No. 415793


                                     By:     /s/ Brandon K. Regan
                                             BRANDON K. REGAN
                                             Assistant United States Attorney
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

   UNITED STATES OF AMERICA                  :
                                             :
          v.                                 :       Criminal No. 21-cr-26
                                             :
   CHRISTOPHER MICHAEL
                                             :
   ALBERTS                                   :
                                             :
                       Defendant.
                                             ORDER

        Upon consideration of the United States’ motion to disclose items protected by Federal

Rule of Criminal Procedure 6(e) and sealed materials, it is hereby

        ORDERED, that the motion is GRANTED, and it is further

        ORDERED, that the United States may provide in discovery materials protected by

Federal Rule of Criminal Procedure 6(e), and it is further

        ORDERED, that the United States may provide in discovery sealed materials, pursuant to

the previously entered protective order governing discovery, and it is further

        ORDERED, that this Order also applies to the disclosure of the materials described above

to any co-defendants who may later be joined.




Date:                                        ___________________________________
                                             HONORABLE CHRISTOPHER R. COOPER
                                             UNITED STATES DISTRICT JUDGE
